 Case: 4:22-cr-00690-UNA           Doc. #: 4      Filed: 12/07/22     Page: 1 of 2 PageID #: 11

                                                                                                  FILED
                                                                                               DEC -7 2022
                          IN THE UNITED STATES DISTRICT COURT                                 U s DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI                                 EASTERN 01S1RICT OF MO
                                                                                                 ST. LOUIS
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,

         Plaintiff,

V.
                                                      4:22CR690 MTS/PLC
DONALD EUGENE FIELDS II,

         Defendant.

                  MOTION FOR PRE-TRIAL DETENTION AND HEARING

        Comes now the United States of America, by and through its attorneys, the United States

Attorney for the Eastern District of Missouri, and Dianna R. Collins, Assistant United States

Attorney for said District, and moves the Court to order defendant detained pending trial, and

further requests that a detention hearing be held three (3) days from the date of defendant's initial

appearance before the United States Magistrate pursuant to Title 18, United States Code, Section

3 141, et seq.

        As and for its grounds, the Government states as follows:

        1.       Defendant is charged with:

        (a)      an offense for which a maximum term of imprisonment often years or more is

                 prescribed in Title 18, United States Code, Section 1591 (sex trafficking)

        2.       Accordingly, a rebuttable presumption arises pursuant to Title 18, United States

Code, Section 3142(e )(3) that there are no conditions or combination of conditions which will

reasonably assure the appearance of the defendant as required, and the safety of any other person

and the community.
 Case: 4:22-cr-00690-UNA           Doc. #: 4      Filed: 12/07/22      Page: 2 of 2 PageID #: 12




        3.     The defendant is a threat to the community. Defendant caused "Jane Doe" to

engage in a commercial sex act.

       WHEREFORE, the Government requests this Court to order defendant detained prior to

trial, and further to order a detention hearing three (3) days from the date of defendant's initial

appearance.

                                               Respectfully submitted,


                                               SAYLER A. FLEMING
                                               UNITED STA TES ATTORNEY


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